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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   TABITHA SPERRING, PAISLIE                 Case No. 5:19-cv-00433-AB-SHK
11   MARCHANT, and SALLY POSTON,
                                               ORDER GRANTING IN PART AND
     individually and on behalf of similarly   DENYING IN PART DEFENDANT’S
12   situated persons,                         MOTION TO COMPEL
13                                             ARBITRATION
                     Plaintiffs,
14   v.
15
     LLR, INC., a Wyoming corporation;
16   LULAROE, LLC, a California limited
17   liability company; LENNON
     LEASING, LLC, a Wyoming limited
18   liability company; MARK A.
19   STIDHAM, an individual; DEANNE S.
     BRADY a/k/a DEANNE STIDHAM,
20   an individual; and DOES 1-30,
21   inclusive,
22                   Defendants.
23
24
25        I.    INTRODUCTION

26         Pending before the Court is Defendants LLR, Inc. (“LLR”), LuLaRoe, LLC

27   (“LuLaRoe”), Lennon Leasing, LLC (“Lennon Leasing”), Mark A. Stidham, and

28   Deanne S. Brady a/k/a Deanne Stidham’s (“Defendants”) Motion to Compel
                                           1.
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 1   Plaintiffs1 to Individually Arbitrate and to Dismiss or Stay This Action. (Dkt. No. 24
 2   (contains “Notice of Mot.” & “Mot.”) For the following reasons, the Court GRANTS
 3   in part and DENIES in part Defendants’ Motion.
 4         II.      BACKGROUND
 5            On March 8, 2019, Plaintiffs filed the original complaint against Defendants.
 6   (Dkt. No. 1 (“Compl.”).) Plaintiffs’ claims arise out of LuLaRoe’s alleged “unlawful,
 7   fraudulent pyramid scheme” through which it recruited “mothers to become
 8   ‘consultants,’”2 who “believe[d] that they w[ould] be able to sell LuLaRoe’s various
 9   clothing items to a retail market” and “generate substantial income while still being
10   able to spend time at home with their families.” (Compl. ¶ 1.) Plaintiffs were all
11   consultants. (Compl. ¶ 2.) According to Plaintiffs, consultants “paid thousands of
12   dollars for the initial opportunity to purchase from LuLaRoe clothing items for the
13   purpose of selling such items.” (Id.) “Any Consultant who sign[ed] up for the
14   LuLaRoe [multi-level marketing (“MLM”)] and pa[id] the initial ‘onboarding’ fee,
15   which range[d] from $2,000 to $9,000 (if not more) depending on the package, [was]
16   eligible to participate in LuLaRoe’s Leadership Bonus Plan,” which “gave
17   Consultants a right to receive compensation entirely based on the recruitment of other
18   persons as participants in the LuLaRoe MLM.” (Compl. ¶ 34.)
19            Plaintiffs claim that LuLaRoe’s plan paid millions to “those few at the top . . . at
20   the expense of the many at the bottom,” because “LuLaRoe paid a significant portion
21   of every dollar that Plaintiffs and other consultants paid for LuLaRoe products to
22   others in the form of bonuses, regardless of the consultant’s actual retail sales.”
23   (Compl. ¶ 6.) Plaintiffs further claim that to incentivize Plaintiffs to continue buying
24   large amounts of LuLaRoe merchandise, Defendants “represent[ed] to consultants that
25   as long as they ‘[bought] more’ LuLaRoe products, they [would] ‘sell more’ LuLaRoe
26
27
     1
         The term “Plaintiffs “ refers to Tabitha Sperring, Paislie Marchant, and Sally Poston.
28   2
         LLR “consultants” are also referred to as “retailers” and “representatives.”
                                                  2.
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 1   products . . . [and] that there [was] nothing to lose because LuLaRoe [would] honor a
 2   full 100% return policy (with free shipping and handling)” all while “omitting that the
 3   LuLaRoe quality of product [was] declining, . . . the market [was] saturated, . . . [and]
 4   providing misleading income statements and retailer maps.” (Compl. ¶ 7.)
 5           Plaintiffs’ original Complaint alleges claims for: (1) violation of California’s
 6   Penal Code § 327; (2) violation of California’s Unfair Competition Law (“UCL”),
 7   Business & Professions Code § 17200, et seq.; (3) violation of California’s Seller
 8   Assisted Marketing Plan Act, Civil Code § 1812.200, et seq.; (4) violation of the
 9   California’s False Advertising Law, Business & Professions Code § 17500, et seq.; (5)
10   breach of contract; (6) violation of California Corporations Code; (7) violation of the
11   Racketeer Influenced and Corrupt Organizations Act (“RICO”). (Compl. ¶¶ 8, 10, 11,
12   164, 206.)
13           On April 3, 2019 Plaintiffs filed a First Amended Complaint (“FAC”). (Dkt.
14   No. 18 (“FAC”).) The FAC removes Plaintiffs’ allegations that they “lost money as
15   LuLaRoe Consultants.” (Compl. ¶ 92; FAC ¶ 92.) Plaintiffs seek to represent two
16   subclasses: (1) Consultants who still have LuLaRoe products; and (2) Consultants
17   who no longer have LuLaRoe products. (FAC ¶ 92(A), (B).) It also adds that “any
18   Consultants that held a Mentor, Coach, or Trainer position” are excluded from the
19   class. (FAC ¶ 93.) Further, Plaintiffs allege that they “invited Defendants to mediate
20   Plaintiffs’ claims in good faith . . . [but] Defendants . . . affirmatively declined to
21   attempt to resolve all of the claims alleged [in the FAC] through mediation.” (FAC ¶
22   103.)
23           On May 6, 2019, Defendants filed the Motion to Compel Plaintiffs to
24   Individually Arbitrate and to Dismiss or Stay This Action. (Mot.) On May 24, 2019,
25   Plaintiffs opposed. (Dkt. No. 27 (“Opp’n”).) On May 31, 2019, Defendants replied.
26   (Dkt. No. 28 (“Reply”).)
27           The Court took the Motion under submission on June 12, 2019 to be decided
28   without oral argument. (Dkt. No. 29.)
                                                 3.
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 1      III.      LEGAL STANDARD
 2         Under the Federal Arbitration Act (FAA), “a contract evidencing a transaction
 3   involving commerce to settle by arbitration a controversy . . . shall be valid,
 4   irrevocable, and enforceable.” 9 U.S.C. § 2. Accordingly, “[a] party aggrieved by the
 5   alleged failure, neglect, or refusal of another to arbitrate under a written agreement for
 6   arbitration may” file a petition in a United States district court for an order compelling
 7   arbitration. 9 U.S.C. § 4. In finding that the making of the arbitration agreement is
 8   not at issue, “the court shall make an order directing the parties to proceed to
 9   arbitration in accordance with the terms of the agreement.” Id.
10         The FAA constitutes a “congressional declaration of a liberal federal policy
11   favoring arbitration agreements,” Moses H. Cone Mem’l Hosp. v. Mercury Constr.
12   Corp., 460 U.S. 1, 24 (1983), as it leaves no room for a district court’s exercise of
13   discretion “but instead mandates that district courts shall direct the parties to proceed
14   to arbitration on issues as to which an arbitration agreement has been signed, Dean
15   Witter Reynolds, Inc. v. Byrd, 470 U.S. 213 (1985) (emphasis in original).
16   Nevertheless, since “arbitration is a matter of contract, . . . a party cannot be required
17   to submit to arbitration any dispute which he has not agreed so to submit.” United
18   Steelworkers of Am. v. Warrior & Gulf Navigation Co., 363 U.S. 574, 582 (1960).
19         Under the FAA, the Court must look to (1) whether a valid agreement to
20   arbitrate exists and (2) whether the dispute falls within the arbitration clause’s scope
21   when deciding a motion to compel arbitration. Chiron Corp. v. Ortho Diagnostic
22   Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). If a valid agreement exists and the
23   dispute falls within the arbitration clause’s scope, “then the Act requires the [C]ourt to
24   enforce the arbitration agreement in accordance with its terms.” Id. Under the FAA,
25   “state law, whether of legislative or judicial origin, is applicable if that law arose to
26   govern issues concerning the validity, revocability, and enforceability of contracts
27   generally.” Perry v. Thomas, 482 U.S. 483, 492 n.9 (1987) (emphasis in original).
28   ///
                                                 4.
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 1       IV.         DISCUSSION
 2             Defendants’ request that the Court (1) compel Plaintiffs to individually mediate,
 3   then individually arbitrate their claims, and (2) stay or dismiss Plaintiffs’ action.
 4   (Mot. at 22, 23.) Defendants make this request, arguing that each Plaintiff signed a
 5   version of the Retailer Agreement,3 "which contains—on its face and in the Policies
 6   and Procedures [incorporated by reference]—an unambiguous agreement to arbitrate
 7   any dispute ‘arising from or relating to’ the Retailer Agreement.” (Mot. at 9, 10
 8   (citing Declaration of Justin Lyon in Support of Motion to Compel Plaintiffs to
 9   Individually Arbitrate and to Dismiss or Stay This Action, Dkt. No. 24 (“Lyon
10   Decl.”), ¶ 3, Ex. 1 (“Ret. Agmt. 4.0”) ¶ 21; Lyon Decl. ¶ 4, Ex. 2 (“Ret. Agmt. 6.5.1”)
11   ¶ 25; Lyon Decl. ¶ 5, Ex. 3 § 6.4; Lyon Decl. ¶ 6, Ex. 4 at 54).) Defendants contend
12   that “Plaintiffs’ claims necessarily arise out of and depend on the Retailer Agreements
13   and Policies and Procedures that created the parties’ relationship and contain the
14   arbitration agreement.” (Mot. at 9.)
15             Defendants argue that despite being incorporated by reference, the Policies and
16   Procedures are “binding, even if [Plaintiffs] did not have or see it at the time of the
17   agreement” provided that “(1) the reference is clear and unequivocal, (2) the reference
18   is called to the attention of the other party and he consents thereto, and (3) the terms of
19   the incorporated document are known or easily available to the contracting parties.”
20   (Mot. at 10.) Defendants maintain that “[t]he Policies and Procedures [were]
21   repeatedly referenced as a separate document in the Retailer Agreement,” “Plaintiffs
22   affirmatively represented that they ‘read and agree[d] to comply with the LLR, Inc.
23   Policies and Procedures,’” and the “Policies and Procedures and amendments were
24   available to each Plaintiff on the Back Office (intranet), on request from LLR, and
25   from the Retailer who referred each Plaintiff to LLR.”4 (Mot. at 11.)
26
     3
27     The versions referred to include Versions 4.0 and 6.5.1. (Mot. at 2.)
     4
       Additionally, “Retailers with version 6.5.1 of the Retailer Agreement received a link
28   to the Policies and Procedures (that they affirmatively agreed to) before they assigned
                                               5.
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 1         Defendants contend that Plaintiffs should be compelled to individually mediate
 2   and arbitrate their claims, because Plaintiffs accepted the arbitration provision, the
 3   arbitration provision encompasses this dispute, and no generally applicable contract
 4   defense invalidates the arbitration provision. (Mot. at 9–19.) Defendants assert that
 5   each Defendant may enforce the arbitration provision. (Mot. at 19.) Lastly,
 6   Defendants argue that this Court may compel individual arbitration. (Mot. at 20.)
 7         Plaintiffs oppose Defendants’ Motion, arguing that the arbitration provision is
 8   unenforceable, because it is substantively and procedurally unconscionable. (See
 9   Opp’n at 4–20, 25.) In addition, Plaintiffs contend mere severance of the
10   unconscionable provisions is improper, because the arbitration provision is permeated
11   with unconscionability. (Opp’n at 20–22.) Plaintiffs further assert that even if the
12   arbitration clause is enforceable, only the sole signatory defendant to the Retailer
13   Agreement, LLR, can enforce it. (Opp’n at 22.) Plaintiffs reason that non-signatory
14   defendants cannot enforce the arbitration provision, because the doctrine of equitable
15   estoppel does not apply. (Opp’n at 22–24.) Lastly, Plaintiffs argue that the mediation
16   provision is unenforceable, because mediation is only required prior to arbitration, and
17   the arbitration provision here is unenforceable. (Opp’n at 25.)
18         A.     A Valid Agreement Exists Between the Parties
19         When determining whether an arbitration agreement is enforceable upon the
20   parties, a court must determine whether the parties have a valid agreement to arbitrate.
21   Chiron, 207 F.3d at 1130. No party may be forced into arbitration unless it has
22   actually agreed to arbitration. Lounge-A-Round v. GCM Mills, Inc., 109 Cal. App. 3d
23   190, 195 (Ct. App. 1980). “As a threshold condition for contract formation, there
24   must be an objective manifestation of voluntary, mutual assent.” Anderson v. United
25   States, 344 F.3d 1343, 1353 (Fed. Cir. 2003). “In determining the validity of an
26   agreement to arbitrate, federal courts ‘should apply ordinary state-law principles that
27
28   the Retailer Agreement.” (Mot. at 11.)
                                                6.
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 1   govern the formation of contracts.’” Ferguson v. Countrywide Credit Indus., Inc., 298
 2   F.3d 778, 782 (9th Cir. 2002) (quoting First Options of Chi., Inc. v. Kaplan, 514 U.S.
 3   938, 944 (1995)).
 4         Under California law, “[a] contract may validly include the provisions of a
 5   document not physically a part of the basic contract.” Wolschlager v. Fid. Nat’l Title
 6   Ins. Co., 111 Cal. App. 4th 784, 790 (2003) (internal quotation marks omitted). “It is,
 7   of course, the law that the parties may incorporate by reference into their contract the
 8   terms of some other document.” Id. (internal quotation marks omitted). “For the
 9   terms of another document to be incorporated into the document executed by the
10   parties[,] the reference must be clear and unequivocal, the reference must be called to
11   the attention of the other party and he must consent thereto, and the terms of the
12   incorporated document must be known or easily available to the contracting parties.”
13   Id. (internal quotation marks omitted).
14         Here, both versions of the Retailer Agreement state that they incorporate the
15   Policies and Procedures by reference. Version 4.0 states, in relevant part: “Consultant
16   acknowledges that [Consultant] has read and agree[d] to comply with the LLR INC.
17   Policies and Procedures . . . which [is] incorporated into and made a part of this
18   Agreement.” (Ret. Agmt. 4.0, ¶ 5.) Version 6.5.1 states, in relevant part: “Consultant
19   acknowledges that Consultant has read and agrees to comply with the Policies and
20   Procedures . . . which [is] incorporated into and made part of this Agreement.” (Ret.
21   Agmt. 6.5.1, ¶ 11.)
22         Defendants submitted a declaration stating that if a retailer or potential new
23   retailer requested the Policies and Procedures, LLR would provide it to the retailer o
24   potential new retailer. (See Declaration of Megan Alvarez in Support of Motion to
25   Compel Plaintiffs to Individually Arbitrate and to Dismiss or Stay This Action, Dkt.
26   No. 24 (“Alvarez Decl.”), ¶¶ 7, 9.) Additionally, Defendants uploaded LLR’s Policies
27   and Procedures and its amendment to the “Tools and Assets Folder” of Back Office
28   (LLR’s intranet). (Lyon Decl. ¶ 5–6.) Defendants also declared that “[b]efore
                                            7.
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 1   September 2016, persons interested in becoming retailers often received LLR
 2   documents, including a copy of the Retailer Agreement and the Policies and
 3   Procedures, from an existing Retailer.” (Alvarez Decl. ¶ 7.) Thus, if Plaintiffs were
 4   unaware of the terms of the Policies and Procedures, Plaintiffs could review the
 5   policies by emailing LLR or accessing it on their Back Office accounts. And while it
 6   seems that retailers are not able to access Back Office until they have agreed to the
 7   Retailer Agreement, courts have concluded that consumers assented to arbitration
 8   agreements in scenarios where the arbitration agreement was provided after the
 9   consumers had already agreed to receive the products or services. See, e.g.,
10   Amirhamzeh v. Wells Fargo Bank, N.A., No. 14-CV-02123-VC, 2014 WL 12610227,
11   at *1–2 (N.D. Cal. Oct. 31, 2014) (holding that the consumer was bound to arbitrate
12   where consumer “did not receive the Terms and Conditions materials that included the
13   arbitration agreement until after enrolling in the service”).
14         Regardless, Defendants put forth evidence stating that if a potential new retailer
15   requested the Policies and Procedures, LLR would provide it to the potential new
16   retailer, demonstrating that the Policies and Procedures were easily available to
17   Plaintiffs. See Lucas v. Hertz Corp., 875 F. Supp. 2d 991, 998 (N.D. Cal. 2012)
18   (applying California law and holding that a document was incorporated by reference
19   when the plaintiff “declare[d] that he either was never given a copy of the [document]
20   or was given it after he signed the rental agreement,” because “the terms of an
21   incorporated document must only have been easily available to him; they need not
22   have actually been provided”); Koffler Elec. Mech. Apparatus Repair, Inc. v. Wartsila
23   N. Am., Inc., No. C-11-0052 EMC, 2011 WL 1086035, at *4 (N.D. Cal. Mar. 24,
24   2011) (holding, under California law, that a set of general terms and conditions that
25   included an arbitration agreement and that were not provided to the plaintiff (but were
26   available upon request) were properly incorporated by reference into a purchase
27   agreement).
28         Additionally, not only do Versions 4.0 and 6.5.1 state that the Policies and
                                             8.
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 1   Procedures are “incorporated into and made a part of this Agreement” (Ret. Agmt.
 2   4.0, ¶ 5, Ret. Agmt. 6.5.1, ¶ 11), but they also provide information as to where a
 3   potential new retailer may access the Policies and Procedures. Version 4.0 states: “If
 4   Consultant has not yet reviewed the Policies and Procedures . . . they are posted at
 5   www.lularoe.com and are also included in Consultant’s first order and accessible via
 6   Consultant’s Back Office login at www.mylularoe.come/login.” (Ret. Agmt. 4.0, ¶ 5.)
 7   Version 4.0 also includes an arbitration provision and explains that the arbitration
 8   process is “more fully described in the Policies and Procedures.” (Ret. Agmt. 4.0, ¶
 9   21.) Version 6.5.1 states: “If Consultant has not yet reviewed the Policies and
10   Procedures . . . they may be posted as directed at www.lularoe.com and are also
11   included in Consultant’s first order and accessible via Consultant’s Back Office login
12   at www.backoffice.mylularoe.com/login.” (Ret. Agmt. 6.5.1, ¶ 11.) Although
13   Version 6.5.1 states “may be posted” as opposed to “are posted,” those Plaintiffs who
14   signed version 6.5.1 were provided with links to the Policies and Procedures as part of
15   the new DocuSign onboarding process that LLR initiated in September 2016 and also
16   had to click an “I agree” button attesting that they “read, underst[ood] and agree[d]
17   with the . . . Policies and Procedures.” (Alvarez Decl. ¶ 10, Ex. 5 at 11.) The
18   DocuSign onboarding process also included language that states: “The . . . LuLaRoe
19   Polices & Procedures . . . constitute the terms and conditions of the Consultant
20   Agreement. . . . [Y]ou must acknowledge that you have read, understand, and agree to
21   adhere to the terms of those documents. If you have not already done so, click on the
22   links provided to print and read the documents.” (Alvarez Decl., Ex. 5 at 11.)
23         Thus, the Court finds that Defendants have met their burden of establishing that
24   the Policies and Procedures have been incorporated by reference into each version of
25   the Retailer Agreement, because each version explicitly references and states that the
26   Policies and Procedures are incorporated by reference, the reference is clear and
27   unequivocal, such that it is called to the attention of Plaintiffs, and the terms of the
28   Policies and Procedures were easily available. See Wolschlager, 111 Cal. App. 4th at
                                              9.
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 1   790 (2003).
 2         Because the Court finds that Plaintiffs have assented to the Policies and
 3   Procedures, and Plaintiffs do not dispute that their claims fall within the scope of the
 4   arbitration provision, the Court will next examine whether the arbitration provision is
 5   unconscionable.
 6         B.      The Arbitration Agreement is Not Unconscionable
 7         Plaintiffs assert that the arbitration provision contains both procedural and
 8   substantive unconscionability. Plaintiffs further contend that even if the provision
 9   only contains a low level of procedural unconscionability, the provision still cannot be
10   enforced because of the substantive unconscionability. Under California law,
11   “[procedural and substantive unconscionability] must both be present in order for a
12   court to exercise its discretion to refuse to enforce a contract or clause under the
13   doctrine of unconscionability.” Armendariz v. Found. Health Psychcare Servs., Inc.,
14   24 Cal. 4th 83, 114 (Cal. 2000) (emphasis and alterations in original) (“Because
15   unconscionability is a reason for refusing to enforce contracts generally, it is also a
16   valid reason for refusing to enforce an arbitration agreement.”). The standard works
17   as a sliding scale “whereby the more procedurally oppressive the arbitration clause is,
18   the less evidence of substantive unconscionability is required to warrant the
19   conclusion that the agreements to arbitrate are unenforceable.” McManus v. CIBC
20   World Mkts. Corp., 109 Cal. App. 4th 76, 91 (2003). For the reasons discussed below,
21   the Court finds that the arbitration provision in the Policies and Procedures is not
22   unconscionable under California law.
23        I.       Procedural Unconscionability
24         Plaintiffs argue that the arbitration agreement is procedurally unconscionable,
25   because the Retailer Agreement and the Policies and Procedures are oppressive and
26   the arbitration clause contains an element of surprise.
27         1.      Oppression
28         “The oppression that creates procedural unconscionability arises from an
                                             10.
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 1   inequality of bargaining power that results in no real negotiation and an absence of
 2   meaningful choice.” Grand Prospect Partners, L.P. v. Ross Dress for Less, Inc., 232
 3   Cal.App.4th 1332, 1347–48, as modified on denial of reh’g (Feb. 9, 2015).
 4   “California courts have held that oppression may be established by showing the
 5   contract was one of adhesion or by showing from the ‘totality of the circumstances
 6   surrounding the negotiation and formation of the contract’ that it was oppressive.”
 7   Poublon v. C.H. Robinson Co., 846 F.3d 1251, 1260 (9th Cir. 2017) (quoting Grand
 8   Prospec, 232 Cal.App.4th at 1348).
 9         a.     Contract of Adhesion
10         “While California courts have found that ‘the adhesive nature of the contract is
11   sufficient to establish some degree of procedural unconscionability’ in a range of
12   circumstances, the California Supreme Court has not adopted a rule that an adhesion
13   contract is per se unconscionable.” Poublon, 846 F.3d at 1261 (citations omitted).
14   “[T]he adhesive nature of a contract, without more, would give rise to a low degree of
15   procedural unconscionability at most.” Id. at 1261–62. Here, the Retailer Agreements
16   that incorporate the Policies and Procedures by reference, which includes the
17   arbitration provision, are contracts of adhesion “because there was unequal bargaining
18   power between the [Plaintiffs] and [LLR], and the agreement was presented to
19   [Plaintiffs] on a take-it-or-leave-it basis.” See Poublon, 846 F.3d at 1261. Thus, at
20   most, the adhesive nature of the contract “would give rise to a low degree of
21   procedural unconscionability.” Id. at 1261–62.
22         b.     Meaningful Choice
23         Because Plaintiffs were not employees of LLR, however, and Plaintiffs did not
24   have to elect to be retailers of LLR’s products, there is an element of meaningful
25   choice that cuts against any potential for procedural unconscionability. See, e.g.,
26   Dean Witter, 211 Cal. App. 3d at 768 (1989). “We believe that any claim of
27   ‘oppression’ may be defeated if the complaining party had reasonably available
28   alternative sources of supply from which to obtain the desired goods or services free
                                             11.
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 1   of the terms claimed to be unconscionable.” Id. at 768. “If ‘oppression’ refers to the
 2   ‘absence of meaningful choice,’ then the existence of a ‘meaningful choice’ to do
 3   business elsewhere must tend to defeat any claim of oppression.” Id. Plaintiffs could
 4   have sought to run their individual businesses through other direct marketing
 5   companies or other apparel companies. Courts “have treated the availability of market
 6   choice as a determinative factor in the analysis of an assertedly adhesive agreement.”
 7   Id. at 770. Nevertheless, “[i]n many cases of adhesion contracts, . . . the weaker party
 8   lacks not only the opportunity to bargain but also any realistic opportunity to look
 9   elsewhere for a more favorable contract; he must either adhere to the standardized
10   agreement or forego the needed service.” Id. (internal quotation marks omitted).
11         To the extent there is some degree of procedural unconscionability based upon
12   the take-it-or-leave-it nature of the contract, Plaintiffs have not established that there
13   was a total absence of meaningful choice.5 Therefore, there is minimal oppression
14   based on the adhesive nature of the contract.
15         2.     Surprise
16         Plaintiffs also argue that the arbitration provision “contains an element of
17   surprise,” because it fails to provide the costs of arbitration, is unclear as to whether
18   class arbitration is allowed, and is ambiguous as to whether the arbitrator’ rulings
19   must be maintained confidential or not. (Opp’n at 19, 20.)
20         a.     Cost of Arbitration
21         Plaintiffs contend that LLR fails to provide any kind of arbitrator rates and,
22   thus, the arbitration provision is procedurally unconscionable. (Id. at 19.) However,
23   Plaintiffs confirmed that they had read the Policies and Procedures when they signed
24
25   5
      While Plaintiffs supply a list of policies and procedures from major MLM
26   companies to show that many major MLM companies allegedly had unconscionable
     arbitration provisions, this does not show that there was a total absence of meaningful
27   choice. (See Declaration of Kevin D. Gamarnik In Support of Opposition to
     Defendants’ Motion to Compel Plaintiffs to Individually Arbitrate and to Dismiss or
28   Stay This Action, Dkt. No. 27 (“Gamarnik Decl.”), ¶¶ 11–26, Exs. H–U at 58–120.).
                                                12.
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 1   the Retailer Agreement and, thus, expressly agreed to arbitration. (See Alvarez Decl.
 2   ¶ 16, Ex. 6 (Poston Ret. Agmt. 4.0); Alvarez Decl. ¶ 19, Ex. 7 (Sperring Ret. Agmt.
 3   6.5.1); Alvarez Decl. ¶ 21, Ex. 8 (Marchant Ret. Agmt 6.5.1).) Plaintiffs also had the
 4   opportunity to read the Policies and Procedures at any time, had access to the
 5   documents every time Plaintiffs placed an order in the Back Office, and were able to
 6   cancel the Agreement. (Lyon Decl. ¶ 3–4, Exs. 1–2 (Ret. Agmt. Version 4.0, ¶ 24;
 7   Ret. Agmt. Version 6.5.1, ¶ 32).) Further, the Court does not find that Plaintiffs have
 8   met their burden of establishing that arbitration here is “prohibitively expensive” (not
 9   just “high, excessive, or extravagant”). Am. Exp. Co. v. Italian Colors Rest., 570 U.S.
10   228, 243, 244 (2013); Green Tree Fin. Corp.–Ala. v. Randolph, 531 U.S. 79, 90–92
11   (2000) (“The ‘risk’ that [a plaintiff] will be saddled with prohibitive costs is too
12   speculative to justify the invalidation of an arbitration agreement.”). Finding this
13   arbitration agreement prohibitively expensive would mean that the Court only
14   enforces arbitration agreements where the parties are wealthy; Congress cannot have
15   intended such an absurd result under the FAA. Therefore, the Court finds no element
16   of surprise based on the cost of arbitration.
17         b.     Class Arbitration
18         Plaintiffs argue that the lack of clarity as to “whether the arbitration can be
19   conducted on a class-wide basis, or, at the very least, as a mass-tort,” as well as
20   “whether the mediation provision allow[s] for a group mediation, or require[s]
21   individual mediation” exacerbates the element of surprise. (Opp’n at 19.) Under the
22   FAA “courts may not infer consent to participate in class arbitration absent an
23   affirmative ‘contractual basis for concluding that the party agreed to do so.’” Lamps
24   Plus, Inc. v. Varela, 139 S. Ct. 1407, 1416 (2019) (citing Stolt-Nielsen S.A. v.
25   AnimalFeeds Int’l Corp., 559 U.S. 662, 664 (2010)) (emphasis in original). Plaintiffs
26   argue that “to a lay person, given the ambiguity, it would come as a surprise that class-
27   wide arbitration was inapplicable, and certainly, that a mass-tort arbitration was not
28   allowed.” (Opp’n at 20.) However, by Plaintiffs’ reasoning, all arbitration
                                           13.
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 1   agreements omitting any mention of class arbitration would be unconscionable. This
 2   cannot be a proper interpretation of surprise. Plaintiffs have not met their burden of
 3   establishing that the Policies and Procedures contained an element of surprise.
 4         c.     Ambiguity on Confidentiality of Rulings
 5         Plaintiffs contend that “it is unclear whether the arbitrator’s decision can be
 6   publicized,” because the arbitration provision requires confidentiality of the entire
 7   arbitration process but also allows the arbitrator’s decision to “‘be reduced to a
 8   judgment in any court of competent jurisdiction.’” (Opp’n at 20. (citing Gamarnik
 9   Decl., Ex. F at 53).) Plaintiffs argue that the scope of the arbitration provision would
10   surprise a reasonable person. (Id.)
11         The FAA instructs that, “as a matter of federal law, any doubts concerning the
12   scope of arbitrable issues should be resolved in favor of arbitration, [including]
13   whether the problem at hand is the construction of the contract language itself.”
14   Moses H. Cone Mem’l Hosp., 460 U.S. at 24–25. The Court finds no element of
15   surprise as to the ambiguity on confidentiality of rulings, because the “terms of the
16   bargain are [not] hidden in a prolix printed form drafted by the party seeking to
17   enforce the disputed terms,” as required in finding surprise under procedural
18   unconscionability. A & M Produce Co. v. FMC Corp., 135 Cal. App. 3d 473, 486 (Ct.
19   App. 1982). At most, the ambiguity may cause confusion, but this confusion is
20   resolved in favor of arbitration.
21         As a result, the Court finds that there is at most, minimal procedural
22   unconscionability.
23       II.      Substantive Unconscionability
24         “A provision is substantively unconscionable if it involves contract terms that
25   are so one-sided as to shock the conscience or that impose harsh or oppressive terms.”
26   Parada v. Super. Ct., 176 Cal. App. 4th 1554, 1573 (2009) (internal quotation marks
27   omitted). “Substantive unconscionability may be shown if the disputed contract
28   provision falls outside the nondrafting party’s reasonable expectations.” Id.
                                               14.
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 1         1.     Confidentiality Provision and Informal Discovery
 2         Plaintiffs argue that the confidentiality clause part of the arbitration provision is
 3   substantively unconscionable because it would limit Plaintiffs’ ability to contact
 4   witnesses or engage in an informal discovery process. (Opp’n at 5–7.) The arbitration
 5   provision requires that “[t]he parties and the arbitrator . . . maintain the confidentiality
 6   of the entire arbitration process and shall not disclose to any person not directly
 7   involved in the arbitration process” information relating to the claims, testimony, or
 8   discovery, amount of arbitration award, or rulings of the arbitrator on procedural and
 9   substantive issues. (Lyon Decl., Ex. 3 § 6.4.) A “provision requiring confidentiality
10   is not unconscionable. In regard to ‘the fairness or desirability of a secrecy provision
11   with respect to the parties themselves, [there is] nothing unreasonable or prejudicial
12   about it,’ and it is not substantively unconscionable.” Sanchez v. Carmax Auto
13   Superstores Cal., LLC, 224 Cal. App. 4th 398, 408 (2014) (citing Woodside Homes of
14   Cal., Inc. v. Superior Court, 107 Cal. App. 4th 723, 732). Additionally, the Ninth
15   Circuit has rejected similar arguments that confidentiality obligations are
16   substantively unconscionable. See Poublon, 846 F.3d at 1265–66 (finding that the
17   “confidentiality provision in the Arbitration Procedure is not substantively
18   unconscionable” and rejecting the argument that confidentiality provisions are
19   substantively unconscionable because they “inhibit employees from discovering
20   evidence from each other”) (internal quotation marks omitted).6
21
22
     6
23     Plaintiffs adamantly argue that Poublon, which based its decision on Sanchez, the
     highest state court ruling issued at time, is not applicable to this case because Ramos
24   v. Superior Court, 28 Cal. App. 5th 1042, 1066, as modified (Nov. 28, 2018), review
     denied (Feb. 13, 2019) is now “‘the ruling of the highest state court issued to date.’”
25   (Opp’n at 6.) However, Ramos did not overrule Sanchez, and Sanchez remains good
26   law. See Sarti v. Salt Creek Ltd., 167 Cal. App. 4th 1187, 1193 (2008), as modified on
     denial of reh’g (Nov. 26, 2008) (holding that “there is no horizontal stare decisis in
27   the California Court of Appeal”).
28
                                                15.
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 1         Thus, the Court does not find that the Policies and Procedures contain “terms
 2   that are so one-sided as to shock the conscience or that impose harsh or oppressive
 3   terms.” See Parada, 176 Cal. App. 4th 1573.
 4         2.     Statutory Attorneys’ Fees
 5         Plaintiffs argue that the arbitration “provision is substantively unconscionable
 6   because it precludes Plaintiffs from recovering statutory attorneys’ fees.” (Opp’n at
 7   7.) The arbitration provision states that “[e]ach party to the arbitration shall be
 8   responsible for its own costs and expenses of arbitration, including legal and filing
 9   fees.” (Lyon Decl., Ex. 4 at 55.) “A provision that both sides bear the cost of their
10   own attorney[s’] fees ‘merely restates the ‘American rule’ of general applicability’
11   and ‘t[akes] nothing away from’ either party.” Fouts v. Milgard Mfg., Inc., No. C11-
12   06269 HRL, 2012 WL 1438817, at *4 (N.D. Cal. Apr. 25, 2012) (citing Woodside
13   Homes of Cal., Inc., 107 Cal.App.4th at 731); see also Mitchell v. Health Net, Inc.,
14   No. CV 18-5499-R (SKX), 2018 WL 6682428, at *2 (C.D. Cal. Oct. 2, 2018) (holding
15   that the plaintiff’s argument that the arbitration clause is substantively unconscionable
16   because it “precludes a statutory attorneys’ fees award . . . is without merit because the
17   provision stating that each party will be responsible for their own attorneys’ fees is a
18   default rule”). Moreover, the arbitration provision does not preclude the arbitrator
19   from awarding statutory fees, including attorneys’ fees. Fouts, 2012 WL 1438817, at
20   *4. The agreement requires that arbitration be resolved by the American Bar
21   Association (“AAA”) or JAMS, whose rules expressly allow the arbitrator to award
22   attorneys’ fees if allowed by applicable law or provided by the parties’ agreement.
23   (Lyon Decl., Ex. 4 at 54; Declaration of Elizabeth M. Weldon In Support of Reply to
24   Motion to Compel Plaintiffs to Individually Arbitrate and to Dismiss or Stay This
25   Action, Dkt. No. 28 (“Weldon Decl.”), Ex. 1, Rule 19(f); see also Weldon Decl., Ex.
26   1, R-47(d)(iii).) Further, any ambiguity “should be interpreted most strongly against
27   the party who caused the uncertainty to exist,” in this case, against Defendants and in
28   favor of allowing Plaintiffs to recover statutory fees. Cal. Civ. Code § 1654.
                                                16.
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 1   Therefore, the Court does not find the statutory attorneys’ fees clause substantively
 2   unconscionable.
 3         3.     Statute of Limitations Waiver
 4         Plaintiffs argue that the arbitration provision is substantively unconscionable,
 5   because the Retailer Agreement expressly limits the statute of limitations period for
 6   “bring[ing] an action against LLR for any act or omission relating to or arising from
 7   the Agreement . . . [to] one year from the date of the alleged conduct giving rise to the
 8   cause of action, or the shortest time permissible under state law.”7 (Ret. Agmt. 6.5.1,
 9   ¶ 33.) Plaintiffs explain that this statute of limitation waiver is substantively
10   unconscionable, because “it vastly restricts the Consultants’ statutory rights” when
11   “Plaintiffs’ claims provide significantly longer periods of time than one year within
12   which to assert a claim of violation.” (Opp’n at 9.) However, “[i]t is a well-settled
13   proposition of law that the parties to a contract may stipulate therein for a period of
14   limitation, shorter than that fixed by the statute of limitations, and that such stipulation
15   violates no principle of public policy, provided the period fixed be not so
16   unreasonable as to show imposition or undue advantage in some way.” Moreno v.
17   Sanchez, 106 Cal. App. 4th 1415, 1430 (2003). The Court finds that Plaintiffs have
18   failed to explain or show precisely how a one-year statute of limitations is
19   unreasonable, and thereby, unconscionable. Thus, the Court does not find the statute
20   of limitations waiver substantively unconscionable.
21         4.     Exemplary Damage Waiver
22         Plaintiffs argue that the arbitration provision is substantively unconscionable,
23   because the Retailer Agreement limits statutorily imposed remedies, when seller
24   assisted marketing plan laws would allow Plaintiffs to seek statutory and exemplary
25   damages. (Opp’n at 10.) The Agreement states that LLR and its affiliates “shall not
26
27
     7
      This one-year limitation only applies to Plaintiffs with version 6.5.1 of the Retailer
28   Agreement.
                                              17.
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 1   be liable for, and Consultant releases, defends, and holds harmless LLR and its
 2   affiliates from, all claims for consequential and exemplary damages for any claim or
 3   cause of action relating to the Agreement.” (Ret. Agmt 6.5.1, ¶ 24.; see also Ret.
 4   Agmt. 4.0, ¶ 20.) “[S]ince we do not know how the arbitrator will construe the
 5   remedial limitations, the questions whether they render the parties’ agreements
 6   unenforceable and whether it is for courts or arbitrators to decide enforceability in the
 7   first instance are unusually abstract. [Thus] . . . the proper course is to compel
 8   arbitration.” PacifiCare Health Sys., Inc. v. Book, 538 U.S. 401, 407 (2003). The
 9   Court, therefore, does not find the exemplary damage waiver substantively
10   unconscionable.
11         5.     Lack of Mutuality
12         Plaintiffs argue that the arbitration provision is substantively unconscionable,
13   because it lacks mutuality. (Opp’n at 10.) Plaintiffs specifically argue that the carve-
14   out for certain intellectual property claims and claims based upon the non-solicitation
15   provision shows a lack of mutual obligations to arbitrate because these are claims that
16   only Defendants would assert. (See Opp’n at 11–13.) This carve-out, however,
17   applies to both parties, not just Defendants. As the arbitration provision states, “any
18   controversy or claim arising out of or relating to the Agreement, or the breach thereof,
19   shall be resolved by arbitration.” (Lyon Decl., Ex. 4 at 54.) Thus, both parties are
20   required to arbitrate claims, and the Court does not find that this carve-out is
21   otherwise unreasonably one-sided.
22         Plaintiffs also argue that the relief reserved by LLR in the arbitration provision
23   is too broad, and therefore unconscionable, because it “allows LLR to obtain
24   provisional relief and any ‘other relief available to safeguard its intellectual property
25   rights and/or to enforce its rights under the nonsolicitation provision of the
26   Agreement.’” (Opp’n at 12 (citing Gamarnik Decl., Ex. F at 53).) Plaintiffs’
27   argument that this provision allows LLR to seek other equitable relief and even
28   damages is meritless when the provision is read in context. As Defendants explain,
                                            18.
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 1   the phrase “‘or other relief available to safeguard and protect’ . . . follows a list of
 2   relief to maintain the status quo—writs and injunctions—there is no indication it
 3   includes damages or relief that is not preservative.” (Reply at 11.) Thus, the Court
 4   does not find that this phrase renders the Policies and Procedures substantively
 5   unconscionable.
 6         6.     Unilateral Ability to Modify
 7         Plaintiffs argue that the arbitration provision is substantively unconscionable,
 8   because it allows Defendants to unilaterally amend the terms of the arbitration
 9   provision. (Opp’n at 13.) A “unilateral modification clause does not make the
10   arbitration provision itself unconscionable . . . [because the] implied covenant of good
11   faith and fair dealing prevents a party from exercising its rights under a unilateral
12   modification clause in a way that would make it unconscionable.” Tompkins v.
13   23andMe, Inc., 840 F.3d 1016, 1033 (9th Cir. 2016). The Court finds that Plaintiffs
14   have not carried their burden of demonstrating that the unilateral modification clause
15   renders the Policies and Procedures substantively unconscionable.
16         7.     Rocket-Docket Procedure
17         Plaintiffs argue that the arbitration provision is substantively unconscionable
18   because it instructs the arbitration hearing to “occur within 180 days from the date on
19   which the arbitrator is appointed and [to] . . . last no more than 5 business days.”
20   (Lyon Decl., Ex. 4 at 55.) However, “[t]here is nothing inherently unconscionable
21   about setting a time limit by which an arbitration hearing must be held or limiting the
22   length of such a hearing. Indeed, the very purpose of arbitration is to streamline the
23   proceedings and obtain an expeditious resolution of disputes.”8 Baxter v. Genworth
24
25
     8
26     While the court in Baxter found a modest degree of unconscionability, that case
     involved an extremely complex employment dispute where the arbitration hearing was
27   to be held within 120 days after an arbitrator was appointed and was limited to two
     eight-hour days, whereas here, the arbitration hearing is to be held within 180 days
28   after an arbitrator is appointed and is limited to five days.
                                                19.
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 1   N. Am. Corp., 16 Cal. App. 5th 713, 735 (Ct. App. 2017). Thus, the Court does not
 2   find that the arbitration hearing timeline renders the Policies and Procedures as so
 3   one-sided as to shock the conscience.
 4         In sum, the Court finds that the arbitration provision in the Policies and
 5   Procedures is, at most, minimally procedurally unconscionable, but is not
 6   substantively unconscionable. Thus, the Court finds that the arbitration provision is
 7   not unconscionable. Armendariz, 24 Cal. 4th at 114 (“The prevailing view is that
 8   [procedural and substantive unconscionability] must both be present in order for a
 9   court to exercise its discretion to refuse to enforce a contract or clause under the
10   doctrine of unconscionability.”) (internal quotation marks omitted) (emphasis in
11   original).
12         C.     Severance of the Unconscionable Provisions
13         Plaintiffs argue that the disputed provisions are not severable, because the
14   arbitration agreement is permeated with unconscionability, and thus, the agreement’s
15   severability provision is immaterial. (Opp’n at 20.) Since the Court has found that the
16   arbitration provision is not unconscionable, however, the Court also finds that
17   Plaintiffs arguments regarding severability do not apply.
18         D.     Whether Non-Signatories May Enforce the Arbitration Provision
19         Defendants concede that LuLaRoe and Lennon Leasing are not signatories to
20   versions 4.0 and 6.5.1. of the Retailer Agreement (LLR is). (Mot. at 19.) The
21   individual Defendants—Mark Stidham and DeAnne Brady, who are officers of
22   LuLaRoe, LLR, and/or Lennon Leasing—are not signatories to any version of the
23   Retailer Agreements. (Id.) Plaintiffs argue that the non-signatories to the Retailer
24   Agreements cannot enforce the arbitration provision. (Opp’n at 22.)
25         “[C]ourts have made clear . . . that an obligation to arbitrate does not attach
26   only to those who have actually signed the agreement to arbitrate.” Lucas, 875 F.
27   Supp. 2d at 1000. “[I]n certain circumstances, a nonsignatory can compel a signatory
28   to arbitrate.” Id. at 1000. “[A] signatory can be compelled to arbitrate at the non-
                                              20.
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 1   signatory’s insistence under an alternative estoppel theory—i.e., because of the close
 2   relationship between the entities involved, as well as the relationship of the alleged
 3   wrongs to the nonsignatory’s obligations and duties in the contract . . . and [the fact
 4   that] the claims were intimately founded in and intertwined with the underlying
 5   contract obligations.” Id. at 1000–01 (internal quotation marks omitted). “Indeed,
 6   courts have generally found . . . [that] arbitration is more likely to be attained when
 7   the party resisting arbitration is a signatory.” Id. (internal quotation marks omitted).
 8         The doctrine of equitable estoppel “prevents a signatory from hav[ing] it both
 9   ways . . . on the one hand, seek[ing] to hold the non-signatory liable pursuant to the
10   duties imposed by the agreement, which contains an arbitration provision, but, on the
11   other hand, deny[ing] arbitration’s applicability because the defendant is a non-
12   signatory.” Robinson v. Isaacs, No. 11CV1021 JLS (RBB), 2011 WL 4862420, at *2
13   (S.D. Cal. Oct. 12, 2011) (internal quotation marks omitted). Here, Plaintiffs’ claims
14   are based upon the Retailer Agreements, and Plaintiffs seek to hold Defendants liable
15   for the claims based upon certain obligations in the Retailer Agreements. Thus, the
16   Court finds that the non-signatories to the different versions of the Retailer
17   Agreements can invoke the arbitration provision under the doctrine of equitable
18   estoppel.
19         E.     Whether the Arbitrator Should Decide Class Arbitrability
20         Defendants ask the Court to compel Plaintiffs to arbitrate on an individual basis.
21   (Mot. at 20–22.) “[W]ho has the primary power to decide arbitrability turns upon
22   what the parties agreed about that matter.” First Options, 514 U.S.at 943 (internal
23   quotation marks omitted). Here, the arbitration provision provides that “any
24   controversy or claim arising out of or relating to the Agreement, or breach thereof,
25   shall be settled by arbitration.” (Lyon Decl., Ex. 3 § 6.4.) The Policies and
26   Procedures, do not, however, include any language stating that arbitration can only
27   proceed on an individual basis or that class-wide arbitration is prohibited. (See Lyon
28   Decl., Ex. 3.)
                                               21.
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 1            In Oracle Am., Inc. v. Myriad Grp. A.G., 724 F.3d 1069, 1074 (9th Cir. 2013),
 2   the Ninth Circuit stated that “[v]irtually every circuit to have considered the issue has
 3   determined that incorporation of the American Arbitration Association’s (AAA)
 4   arbitration rules constitutes clear and unmistakable evidence that the parties agreed to
 5   arbitrate arbitrability.” Here, the Policies and Procedures incorporate by reference the
 6   AAA rules and JAMS rules. (Lyon Decl., Ex. 3 § 6.4.) Thus, it appears that based on
 7   this Ninth Circuit ruling, the incorporation of the AAA rules into the Policies and
 8   Procedures is evidence that the parties agreed to arbitrate arbitrability. As a result, the
 9   issue of whether Plaintiffs’ claims can proceed on a class-wide basis is a question this
10   Court leaves for the arbitrator. See Lee v. JPMorgan Chase & Co., 982 F. Supp. 2d
11   1109, 1112–14 (C.D. Cal. 2013) (holding that the issue of whether parties had to
12   proceed in arbitration on an individual basis or on a class, collective, or representative
13   basis was a question for the arbitrator, not the court).
14       V.         CONCLUSION
15            In conclusion, the arbitration provision in the Policies and Procedures is a valid
16   and enforceable agreement to arbitrate Plaintiffs’ claims.9 In consideration of a valid
17   agreement for arbitration, the fact that the parties do not contest that the scope of the
18   agreement covers the dispute at issue, that the non-signatories are able to enforce the
19   arbitration provision under equitable estoppel, and the FAA’s policy favoring the
20   resolution of disputes through arbitration, the Court finds Plaintiffs must arbitrate their
21   claims. The issue of whether Plaintiffs can arbitrate their claims on a class-wide basis,
22   however, is a question for the arbitrator. Thus, Defendants’ Motion to Compel
23   Plaintiffs to Individually Arbitrate and to Dismiss or Stay this Action is hereby
24   GRANTED in part and DENIED in part.10
25
26   9
       The mediation provision is also enforceable, as mediation is required prior to
27   arbitration. (See Lyon Decl., Ex. 4 at 54.)
     10
        The Court considered Plaintiffs’ request for leave to file sur-reply and did not find
28   anything that required additional consideration.
                                               22.
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 1          The Court hereby STAYS this action pending the arbitration of Plaintiffs’
 2   claims. See 9 U.S.C. § 3. The Court further ORDERS that this action be removed
 3   from the Court’s active caseload until further application by the parties or Order of
 4   this Court. To allow the Court to monitor this action, the Court orders the parties to
 5   file periodic status reports. The first such report is to be filed by October 18, 2019
 6   unless the stay is lifted sooner. The parties shall file successive reports every 120
 7   days thereafter. Each report must indicate on the face page the date on which the
 8   next report is due. All pending calendar dates are VACATED by the Court. This
 9   Court retains jurisdiction over this action, and this Order shall not prejudice any party
10   to this action.
11
12
     Dated: July 23, 2019             _______________________________________
13                                    HONORABLE ANDRÉ BIROTTE JR.
14                                    UNITED STATES DISTRICT COURT JUDGE
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